Case 8:18-cr-00204-SDI\/|-SPF Document 1 Filed 04/25/18 Page 1 of 7 Page|D 1

UNITED sTATEs DIsTRlCT CoURT 2955 AF".PF 253 l 111 113
MIDDLE DisTRicT oF FLoRiDA _ \ _, __ v
TAMPA DivrsroN 1 _'
UNITED sTATEs oF AMERICA
cAsE No_ §§ '»‘l§ ’U”' 304 'T'Y>W‘A<F

v.
JONATHAN BUDOWSKI 21 U.S.C. § 84l(a)(l)
18 U.S.C. § 922(g)(1)
18 U.S.C. § 924(c)
INDICTMENT
The Grand Jury charges:
COUNT ONE
On or about October 2, 2017, in the l\/liddle District of Florida, the
defendant,

JONATHAN BUDOWSKI,
did knowingly and intentionally possess With intent to distribute a mixture and
substance containing a detectable amount of methamphetamine a Schedule ll
controlled substance; a mixture and substance containing a detectable amount of
cocaine, a Schedule ll controlled substance; and a mixture and substance

containing a detectable amount of marijuana, a Schedule l controlled substance

Au in violation 0r21 U.s.c. §§ 841(@1)(1) and 341(b)(i)(c).

Case 8:18-cr-00204-SDI\/|-SPF Document 1 Filed 04/25/18 Page 2 of 7 Page|D 2

COUNT TWO

On or about October 2, 2017, in the Middle District of Florida, the
defendant,

JONATHAN BUDOWSKI,

having been previously convicted in any court of a crime punishable by
imprisonment for a term exceeding one year, including:
l. Possession of a Controlled Substance, on or about December 9, 2013;

.2. Possession of a Firearm by a Convicted Felon, on or about January 22,
1996;

3. Burglary of a Dwelling, on or about June 3, 1992;
4. Grand Theft, on or about June 3, 1992; and

5. Resisting a Law Enforcement Officer with Violence, on or about
June 3, 1992;

did knowingly possess, in and affecting interstate commerce, firearms and
ammunition, to wit: a Taurus J'udge .44 caliber revolver, a Sig Sauer model P320
nine~millimeter pistol, a Del-Ton lnc. model DTI-l$ 5 .56 millimeter rifle, a
Mossberg model 500E .410 pump action shotgun, assorted rounds of Federal
nine-millimeter, .223 and nine-millimeter ammunition, three rounds of CCI .380
caliber ammunition, assorted rounds of Remington .410 gauge, .38(), .44 and .223

caliber ammunition, assorted rounds of Winchester 20 gauge, .380, .223 and 5.56

Case 8:18-cr-00204-SDI\/|-SPF Document 1 Filed 04/25/18 Page 3 of 7 Page|D 3

millimeter ammunition, one round of PMC .380 caliber ammunition, and three
rounds of PMP .223 caliber ammunition

All in violation of 18 U.S.C. §§ 922(g)(l) and 924(a)(2).
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On or about October 2, 2017, in the Middle District of Florida, the
defendant,

JONATHAN BUDOWSKI,

did knowingly possess a firearm in furtherance of a violation of 21 U.S.C. §
841(;1)(1), as alleged in Count One above, which allegations the Grand Jury
reallege and incorporate by reference herein, a drug trafficking crime for which
the defendant may be prosecuted in a Court of the United States.

All in violation of 18 U.S.C. § 924(€).

FORFEITURE

l. The allegations contained in Counts One through Three are hereby
realleged and incorporated by reference for the purpose of alleging forfeiture
pursuant to the provisions of21 U.S.C. § 853, 18 U.S.C. § 924(d), and 28 U.S.C.
§ 2461(c).

2. Upon conviction of a violation of 21 U.S.C. § 84l(a)(l), as alleged in
Count One, the defendant, JONATHAN BUDOWSKI, shall forfeit to the United

States, pursuant to 21 U.S.C. § 853, all of his right, title and interest in:

Case 8:18-cr-00204-SDI\/|-SPF Document 1 Filed 04/25/18 Page 4 of 7 Page|D 4

a. any property constituting, or derived from, any proceeds
defendants obtained, directly or indirectly, as a result
of such violation; and

b. any property used, or intended to be used, in any manner or
part, to commit, or to facilitate the commission of, such
violation.

3. Upon conviction of the violation of 18 U.S.C. § 922(g) charged in
Count Two and/ or the violation of 18 U.S.C. § 924(€) charged in Count Three,
defendant, JONATHAN BUDOWSKI, shall forfeit to the United States,
pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 246l(c), all firearms and
ammunition involved in or used in either violation.

4. The property to be forfeited by a conviction of any of the counts
charged in this lndictment includes, but is not limited to, a Taurus Judge .44
caliber revolver, a Sig Sauer model P320 nine-millimeter pistol, a Taurus Curve
.380 caliber pistol, a Del-Ton lnc. model DTl-lS 5.5 6 millimeter rifle, a Mossberg
model SOOE .41() pump action shotgun, assorted rounds of Federal nine-
milliineter, .223 and nine-millimeter ammunition, three rounds of CCI .380
caliber ammunition, assorted rounds of Remington .410 gauge, .380, .44 and .223
caliber ammunition, assorted rounds of Winchester 20 gauge, .38(), .223 and 5.56
millimeter ammunition, one round of PMC .38() caliber ammunition, and three

rounds of PMP .223 caliber ammunition

Case 8:18-cr-00204-SDI\/|-SPF Document 1 Filed 04/25/18 Page 5 of 7 Page|D 5

5. lf any of the property described above, as a result of any act or

omission of the defendant:

3..

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third

Pal”ty;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property that cannot be
divided without difficulty,

Case 8:18-cr-00204-SDI\/|-SPF Document 1 Filed 04/25/18 Page 6 of 7 Page|D 6

the United States of America shall be entitled to forfeiture of substitute property

under the provisions of 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. §

 

2461(c).
A TRUE BILL,
v /
Foreperson
PA LOPEZ
Unite S tes Attorney
By: M/_\`\\

 

Mi haell\/l. Gordon
ASZ/ istant United States Attorney

By: WW

Christopher F. Murray
Assistant United States Attorney
Chief, Violent Crimes and Narcotics 'Section

FORM OBD-34
April 18

Case 8:18-cr-00204-SDI\/|-SPF Document 1 Filed 04/25/18 Page 7 of 7 Page|D 7
No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA

VS.

 

Jonathan Budowski

]NDICTMENT

violations 21 U.s.C. § 841(o)(1)
18 U.s.c. § 922(g)(1)

18 U.s.c. § 924(¢)

Atruebill,
` '\ /

Foreperson

Filed in open court this 25th day
of April 2018.

 

Clerk

Bail $

 

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